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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                                                              JS-6

                              CIVIL MINUTES—GENERAL

  Case No. CV 18-9071-MWF (GJSx)                       Date: May 14, 2019
  Title:   Jesse Graham v. Taylor Swift, et al.

  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                              Court Reporter:
            Rita Sanchez                               Not Reported

            Attorneys Present for Plaintiff:           Attorneys Present for Defendant:
            None Present                               None Present

  Proceedings (In Chambers): ORDER DISMISSING ACTION WITH PREJUDICE

         On April 17, 2019, the Court granted Defendant Taylor Swift’s Motion to
  Dismiss for Insufficient Service of Process and for Failure to State a Claim, filed on
  January 24, 2019. (See “April 17 Order” (Docket No. 36)). The Court gave Plaintiff
  one more opportunity to demonstrate proper service of the Summons and Complaint by
  filing a proof of such service by no later than May 3, 2019. (Id. at 4). The Court
  warned Plaintiff that failure to do so would result in dismissal of the action with
  prejudice. (Id.).

         On May 3, 2019, Plaintiff filed a proof of service indicating that Plaintiff mailed
  the Summons and Complaint to Rose IP Law, PLLC, via U.S. first-class mail on April
  19, 2019. (See Proof of Service (Docket No. 42)). On May 13, 2019, Defendant filed
  an objection to Plaintiff’s proof of service, arguing that Rose IP Law, PLLC is the
  designated Digital Millennium Copyright Act agent for Taylor Nation, LLC, not
  Defendant. (See Objections to Service of Summons and Complaint (Docket No. 45)).
  On May 7, 2019, Plaintiff also filed a proof of service that the Court determines is
  deficient on its face. (Docket No. 40).

         In light of Plaintiff’s failure to comply with the Court’s April 17 Order,
  dismissal of the action is warranted. Plaintiff was warned to serve Defendant within
  the time required and that failure to do so would result in dismissal of the action with



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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV 18-9071-MWF (GJSx)                       Date: May 14, 2019
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  prejudice. Plaintiff has not shown good cause for his failure to properly serve
  Defendant. Accordingly, the action is DISMISSED with prejudice.

          This Order shall constitute notice of entry of judgment pursuant to Federal Rule
  of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the Clerk to
  treat this Order, and its entry on the docket, as an entry of judgment.

        IT IS SO ORDERED.

         The Court may not provide advice to any party, including persons who are not
  represented by a lawyer. (Such persons are known as “pro se litigants.”) However,
  this District does have a “Pro Se Clinic” that can provide information and assistance
  about many aspects of civil litigation in this Court. Public Counsel’s Federal Pro Se
  Clinic provides free legal assistance to people representing themselves in the United
  States District Court for the Central District of California. The Pro Se Clinic is located
  at the Roybal Federal Building and Courthouse, 255 East Temple Street, Los Angeles,
  California 90012.

         The Los Angeles Clinic operates by appointment only. You may schedule an
  appointment either by calling the Clinic or by using an internet portal. You can call the
  clinic at (213) 385-2977, ext. 270, or you can submit an internet request at the
  following site: http://prose.cacd.uscourts.gov/los-angeles.

        Clinic staff can respond to many questions with a telephonic appointment or
  through your email account. It may be more convenient to email your questions or
  schedule a telephonic appointment. Staff can also schedule you for an in-person
  appointment at their location in the Roybal Federal Building and Courthouse.

       In addition, the Court has information of importance to pro se litigants at the
  “People Without Lawyers” link, http://prose.cacd.uscourts.gov/.

       Pro se litigants may also apply to the Court for permission to electronically file.
  Form CV-005 is available at http://www.cacd.uscourts.gov/court-procedures/forms.
  ______________________________________________________________________________
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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

  Case No. CV 18-9071-MWF (GJSx)                  Date: May 14, 2019
  Title:   Jesse Graham v. Taylor Swift, et al.

        The Court’s website home page is http://www.cacd.uscourts.gov.




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